Case 4:07-cv-05944-JST Document 3404-13 Filed 01/16/15 Page 1 of 6




                      EXHIBIT 12
Case 2:04-md-01616-JWL-JPO Document 2871 Filed 05/08/13 Page 1 of 134
  Case 4:07-cv-05944-JST Document 3404-13 Filed 01/16/15 Page 24404
                                                                of 6

   1                             VOLUME 16
                              MORNING SESSION
   2               IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS
   3

   4   IN RE:

   5   URETHANE ANTITRUST LITIGATION              CASE NO. 04-1616

   6

   7                 TRANSCRIPT OF TRIAL PROCEEDINGS
                                  before
   8                   HONORABLE JOHN W. LUNGSTRUM
                                    on
   9                        FEBRUARY 13, 2013

 10                              APPEARANCES

 11    For the Plaintiffs:      Joseph Goldberg
                                Freedman, Boyd, Hollander, Goldberg
 12                             & Ives PA
                                20 First Plaza, Suite 700
 13                             Albuquerque, NM 87102

 14                             Michael J. Guzman
                                Kellogg, Huber, Hansen, Todd, Evans
 15                             & Figel PLLC
                                Sumner Square
 16                             1615 M Street, NW, Suite 400
                                Washington, DC 20036-3209
 17
                                Roberta D. Liebenberg
 18                             Fine, Kaplan and Black RPC
                                One South Broad Street, Suite 2300
 19                             Philadelphia, PA 19107

 20                             Kit A. Pierson
                                Cohen, Milstein, Sellers & Toll,
 21                             PLLC
                                West Tower, Suite 500
 22                             1100 New York Avenue, NW
                                Washington, DC 20005-3934
 23

 24

 25
                         REBECCA S. RYDER, CSR, CCR, RMR
                          UNITED STATES COURT REPORTER
                                  913-735-2334
Case 2:04-md-01616-JWL-JPO Document 2871 Filed 05/08/13 Page 118 of 134
   Case 4:07-cv-05944-JST Document 3404-13 Filed 01/16/15 Page 34521
                                                                 of 6
                 DIRECT EXAMINATION
    1          Dr. McClave's statistical model. I did not do that.

   2    Q.   Okay.   You also said in connection -- let me go back.

   3         You said that you did look at Dr. Solow's testimony

   4         before this jury.    Do you recall that?

   5    A.   Yes, sir.

   6    Q.   Okay.   And it's true, is it not, that as the jury

   7         well knows, Dr. Solow in turn examined things like

   8         the meeting at the Greenbrier resort and playing golf

   9         and this kind of thing?     Have you analyzed the

  10         evidence that Dr. Solow called evidence regarding

  11         pricing communications?

  12    A.   I have certainly read the evidence because I have

  13         read his reports.

  14    Q.   Okay.   I haven't heard you talk about it here this

  15         morning.    Why haven't you talked to the jury about

  16         the meeting at the Green -- the 19th hole at

  17         Greenbrier or the walk in the woods at Baywood or any

  18         of the other events that have been described in

  19         testimony?    Why didn't you do that?

  20    A.   I didn't do that because I don't think that's the job

  21         of an economist.    To my mind that's the job of a

  22         conspiracy-ologist.

  23    Q.   Okay.   Is that your term, conspiracy-ologist?

  24    A.   No, that's not my term.     That's a term I learned when

  25         I was much younger working on the Supreme Court case
                          REBECCA S. RYDER, CSR, CCR, RMR
                           UNITED STATES COURT REPORTER
                                   913-735-2334
Case 2:04-md-01616-JWL-JPO Document 2871 Filed 05/08/13 Page 119 of 134
   Case 4:07-cv-05944-JST Document 3404-13 Filed 01/16/15 Page 44522
                                                                 of 6
                 DIRECT EXAMINATION
    1          that I mentioned earlier called Matsushiba. And in

   2          that case the -- there were two economists for the --

   3                     MR. GOLDBERG:   Your Honor, I'm going to --

   4          he's gone beyond the question, was that your term.

   5          Now we're going into a narrative --

   6                     THE COURT:   Sustained.

   7                     MR. GOLDBERG:   -- which I'm going to object

   8          to.

   9                     THE COURT:   Sustained.

  10                     MR. BERNICK:    Oh.

  11    Q.    (By Mr. Bernick) Well, what is it that you mean by

  12          conspiracy-ologist?

  13    A.    Well, I'm about to explain that in the context of

  14          Matsushiba because that's where I learned the term.

  15                     MR. GOLDBERG:   Now I'm going to object.

  16                     MR. BERNICK:    Just relax.   I'm going to

  17          instruct him.

  18    Q.    (By Mr. Bernick) I think counsel for the class is

  19          concerned with your reciting the case that gave you

  20          that term.    And in order to make our process smooth

  21          and harmonious, I would like you to simply confine

  22          your testimony to what you have taken that word to

  23          mean and its relevance to the nature of the approach

  24          that you have taken here.     And if you could do that

  25          that would be -- everybody will be happy and we will
                           REBECCA S. RYDER, CSR, CCR, RMR
                            UNITED STATES COURT REPORTER
                                    913-735-2334
Case 2:04-md-01616-JWL-JPO Document 2871 Filed 05/08/13 Page 120 of 134
   Case 4:07-cv-05944-JST Document 3404-13 Filed 01/16/15 Page 54523
                                                                 of 6
                 DIRECT EXAMINATION
    1          go forward.

    2   A.    Okay.   I will try and do that.     I do want to go

    3         forward.

    4   Q.    Okay.

    5   A.    So the term, I came to learn, means where someone who

    6         claims to be an economist looks at evidence of the

    7         data that "he said/she said," or I was at this -- I

    8         saw that they played golf together, or it was this

    9         luncheon, and infers from that that this was a

  10          conspiracy.    And I have saw that term referred to as

  11          a conspiracy-ologist.     And where I came across that

  12          term --

  13                     THE WITNESS:    That's where it stops.

  14                     THE COURT:    Good enough.

  15    Q.    (By Mr. Bernick) Tell us -- this does have -- this

  16          whole idea of that kind of approach where you're

  17          looking at the "he said/she said" that's something

  18          that you decided not to do in this case; correct?

  19    A.    That's correct.    To my mind that is not economics,

  20          that's the work of a conspiracy-ologist.

  21    Q.    And you've followed the same approach for years and

  22          years and years?

  23    A.    That's correct.

  24    Q.    So now tell the jury why it is that you don't go down

  25          that road.
                           REBECCA S. RYDER, CSR, CCR, RMR
                            UNITED STATES COURT REPORTER
                                    913-735-2334
Case 2:04-md-01616-JWL-JPO Document 2871 Filed 05/08/13 Page 121 of 134
   Case 4:07-cv-05944-JST Document 3404-13 Filed 01/16/15 Page 64524
                                                                 of 6
                 DIRECT EXAMINATION
    1    A.    I don't go down that road because I don't have any

    2         particular training.     As an economist there's nothing

    3         in my graduate training, there's nothing in the

    4         research I do as an antitrust economist that gives me

    5         an advantage or special insight into learning about a

    6         conversation that might have taken place when people

    7         played golf or when they were at lunch with one

    8         another.   That type of evidence to me is not

    9         economics evidence, it's not what economists work

  10          with.

  11               If I can just put my mystery writer's hat on a

  12          moment it's what we call gumshoe evidence, and

  13          gumshoe evidence may be a term that not everybody

  14          knows, but in mystery writing parlance a gumshoe is a

  15          detective, it's a PI, a private investigator.

  16    Q.    Who walks around in shoes that are soft-soled shoes?

  17                     THE COURT:    Or steps on chewing gum.     Who

  18          knows, but let's --

  19                     MR. BERNICK:    Well, I don't know, your

  20          Honor.

  21                     THE COURT:    Probably not that pertinent.

  22                     MR. BERNICK:    I am cutting out lots of

  23          things to ask, but I thought we would get a little

  24          bit of something in there.      Sorry.

  25    Q.    (By Mr. Bernick) Okay.     So you don't do that kind of
                          REBECCA S. RYDER, CSR, CCR, RMR
                           UNITED STATES COURT REPORTER
                                   913-735-2334
